             IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                     MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Simmons, James,                         :          No. 19-01991
       Simmons, Keisha                         :
                                               :
                     Debtors.                  :          Chapter 13

                                           ORDER


       AND NOW upon consideration of the Stipulation between the Debtors and Wilmington

Savings Fund Society, FSB, the Stipulation is hereby approved.




 Dated: March 25, 2021              By the Court,



                                    Henry W. Van Eck, Chief Bankruptcy Judge   (CD)




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